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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division
  LORI FITZGERALD, et al.,

          Plaintiffs,

  v.                                                    Civil Action No. 3:20-cv-00044-NKM-JCH

  JOSEPH WILDCAT SR., et al.,

          Defendants.

               DEFENDANT SKY TRAIL SERVICING GROUP, LLC’S
         MEMORANDUM IN SUPPORT OF MOTION TO COMPEL INDIVIDUAL
       ARBITRATION OF PLAINTIFF MAVILLE’S CLAIMS AND STAY MAVILLE’S
                       CLAIMS PENDING ARBITRATION

          Defendant Sky Trail Servicing Group, LLC, submits this Memorandum in Support of its

  Motion to Compel Individual Arbitration of Plaintiff Angela Maville’s Claims and Stay Maville’s

  Claims Pending Arbitration pursuant to Fed. R. Civ. P. 12(b)(3).

  I.      INTRODUCTION

          This case involves a purported class action brought by five plaintiffs (“Plaintiffs”)

  challenging certain loans made by entities that are arms of the Lac du Flambeau Band of Lake

  Superior Chippewa Indians, a federally recognized Indian Tribe (the “Tribe”). Plaintiffs originally

  sued three individuals associated with the Tribe in their personal capacities and subsequently

  amended the complaint to add additional non-Tribe defendants, including William Cheney Pruett

  (“Pruett”) and Skytrail Servicing Group, LLC (“Skytrail Servicing”).

          Skytrail Servicing is only tangentially connected to the harm the Plaintiffs allege. Skytrail

  Servicing did not make a loan to any of the Plaintiffs, nor did any of the Plaintiffs make payments

  to Skytrail Servicing. Indeed, the only Plaintiff to assert a claim against Skytrail Servicing, Angela

  Maville (“Plaintiff” or “Maville”), alleges that she obtained a loan from Ningodwaaswi, LLC d/b/a




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  Sky Trail Cash (“Sky Trail Cash”), a tribal entity not named as a defendant. She repaid a portion

  of her loan to Sky Trail Cash. She does not allege she made any payments to Skytrail Servicing or

  that she had any direct relationship with Skytrail Servicing.

          Despite Maville’s tangential connection with Skytrail Servicing, she now asserts claims

  against it for violating the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

  §§ 1962(c) and 1962(d), and under common law unjust enrichment. Maville’s claims against

  Skytrail Servicing are subject to arbitration under the arbitration provision (“Arbitration

  Provision”) in Maville’s loan agreement with Sky Trail Cash (“Loan Agreement”). Therefore, the

  claims against Skytrail Servicing should be stayed pending arbitration.

  II.     LEGAL STANDARD

          “Although no Federal Rule of Civil Procedure expressly addresses motions to dismiss or stay

  pending arbitration, the United States Supreme Court has described arbitration clauses as ‘a

  specialized kind of forum-selection clause that posits not only the situs of suit but also the procedure

  to be used in resolving the dispute.’” Enter. Info. Mgmt., Inc., v. SuperLetter.com, Inc., No. DKC 13-

  2131, 2013 WL 5964563, at *3 (D. Md. Nov. 7, 2013) (quoting Scherk v. Alberto-Culver, Co., 417

  U.S. 506, 519 (1974)). In the Fourth Circuit a motion to dismiss based on a forum-selection clause is

  treated as a motion to dismiss on the basis of improper venue under Rule 12(b)(3). Aggarao v. MOL

  Ship Mgmt. Co., 675 F.3d 355, 366 (4th Cir. 2012). On a Rule 12(b)(3) motion, the Court views the

  facts in the light most favorable to the plaintiff, and the plaintiff need only make a prima facie showing

  of proper venue to survive the motion to dismiss. Id. at 366. The Court may consider evidence

  outside the pleadings on a motion to dismiss for improper venue. Id.

          Skytrail Servicing joins in the arguments and legal support asserted in Defendants Joseph

  Wildcat, Sr., Jessie Lorenzo and Nicole Reynold’s Brief in Support of Motion to Compel Individual




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  Arbitration of Plaintiffs Williams, Singleton, and Maville’s Claims and Stay Plaintiffs’ Claims

  Pending Arbitration and Motion to Dismiss for Lack of Subject Matter Jurisdiction (Dkt. No

  111) (hereinafter referred to “Tribal Defendants’ Motion to Compel Arbitration”).

  III.    ARGUMENT

          A.     Maville’s claims against Skytrail Servicing are subject to individual, binding
                 arbitration.

          Whether the Court should compel arbitration raises four important issues, all of which

  weigh in Skytrail Servicing’s favor. First, the dispute that Maville alleges against Skytrail falls

  under the broad language of the Loan Agreement’s Arbitration Provision. Second, the Loan

  Agreement contains a valid Arbitration Provision, which includes referring the question of

  arbitrability to arbitration. Third, the clause delegating the question of arbitrability to arbitration—

  the “delegation clause”—and the Loan Agreement’s governing law do not prospectively waive

  Maville’s right to pursue any federal statutory claim. Fourth, because the Court should compel

  arbitration, the Court should also stay Maville’s claims against Skytrail Servicing pending

  arbitration.

                 1.      Skytrail Servicing has standing to enforce the Arbitration
                         Provision.

          Where an arbitration provision is drafted broadly, there is a heightened presumption of

  arbitrability so that “in the absence of any express provision excluding a particular grievance

  from arbitration, we think only the most forceful evidence of a purpose to exclude the claim from

  arbitration can prevail.” United Steelworkers of Am. v. Warrior & Gulf Nay. Co., 363 U.S. 574,

  584-85 (1960). “An order to arbitrate the particular grievance should not be denied unless it may

  be said with positive assurance that the arbitration clause is not susceptible of an interpretation




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  that covers the asserted dispute.” Id. at 582-83; see also AT&T Techs., Inc. v. Commc’ns Workers

  of Am., 475 U.S. 643, 650 (1986).

         In deciding whether a dispute falls within the scope of an arbitration agreement, state law

  principles are used to determine whether a party that was not a signatory to the contract may

  invoke an arbitration provision in the contract. Barber v. Charlotte Motor Speedway, LLC, No.

  1:13CV99, 2014 WL 6686730, at *2 (M.D.N.C. Nov. 26, 2014) (citing Long v. Silver, 248 F.3d

  309, 320 (4th Cir. 2001)). “[T]he Supreme Court has noted that ‘traditional principles of state

  law allow a contract to be enforced by or against nonparties to the contract through assumption,

  piercing the corporate veil, alter ago, incorporation by reference, third-party beneficiary theories,

  waiver or estoppel.’” Id. (quoting Arthur Anderson LLP v. Carlisle, 556 U.S. 624, 630-31

  (2009)). The Fourth Circuit has recognized that, under “contract law generally,” a third party

  beneficiary if the third party is an intended beneficiary—that is, “the circumstances indicate that

  the promisee intends to give the beneficiary the benefit of the promised performance.” BIS

  Computer Solutions, Inc. v. City of Richmond, 122 Fed. App’x 608, 611 (4th Cir. 2005) (quoting

  Restatement (Second) of Contracts § 302(1) (1981)).

         Here, the Arbitration Provision in the Loan Agreement broadly covers “all U.S. federal or state

  law claims” and “all claims asserted by you individually or on behalf of another person arising out of

  the loan agreement against the Tribe, us and/or any of our employees, agents, directors, officers,

  governors, managers, members, parent company or affiliated entities.” See Declaration of Geoffrey

  H. Kozen (“Kozen Decl.), Exhibit A, attached hereto as Exhibit 1. Such broad language, and the

  absence of any explicit exclusion, unquestionably provides for arbitration of any claims related to

  the Loan Agreement. And there is no question that Skytrail Servicing is an “affiliated entity” or

  “agent” of the Tribe. See, e.g., Am. Compl., ¶ 101 (“[T]he Tribe’s lending businesses have entered




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  into similar servicing agreements, including an agreement with Defendants Pruett and Skytrail

  Servicing Group . . . .”). The Lending Agreement states that the agreement is made between

  Maville and Sky Trail Cash, including any “agent” or “affiliate” of Sky Trail Cash. And the

  Arbitration Provision states that the parties will arbitrate all disputes, including claims against any

  agent or affiliated entities of Sky Trail Cash. Skytrail Servicing is the exclusive servicing agent of

  Sky Trail Cash. Kozen Decl., Exh. B at ¶ 1.6. Therefore, Skytrail Servicing is an agent of Sky Trail

  Cash and an intended beneficiary of the Loan Agreement. Skytrail Servicing has standing to

  enforce the Loan Agreement including the Arbitration Provision, and Maville’s claims against

  Skytrail Servicing must be arbitrated.

                 2.      The Arbitration Provision is enforceable.

         Maville’s claims against Skytrail Servicing are subject to individual, binding arbitration

  pursuant to the Federal Arbitration Act (“FAA”). The FAA “embodies the national policy favoring

  arbitration.” Buckeye Check Cashing, Inc. v. Cardegnai 546 U.S. 440, 443 (2006).

         “When faced with a motion to compel arbitration, the court does not review the contract as

  a whole. Rather, the court reviews the arbitration agreement as if it were a free-standing contract,

  with an eye toward two gateway issues.” Davis v. BSH Home Appliances Corp., No. 4:15-CV-

  103-FL, 2016 WL 2901741, at *3 (E.D.N.C. May 18, 2016) (citing Buckeye Check Cashing, Inc.

  v. Cardenga, 546 U.S. 440, 444-46 (2006)). These gateway issues are (1) whether there is a valid

  agreement between the parties to arbitrate, and, if there is a valid agreement, (2) whether the

  “specific dispute falls within the substantive scope of that agreement.” Id. (quoting Hooters of Am.

  Inc. v. Phillips, 173 F.3d 933, 938 (4th Cir. 1999)).

         Critically, however, when parties have agreed to arbitrate these gateway issues, then the

  question of “arbitrability” is within the arbitrator’s purview, not the Court’s. See Rent-A-Ctr., W.,




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  Inc. v. Jackson, 561 U.S. 63, 68-69 (2010); see also Novic v. Credit One Bank, Nat'l Ass 'n, 757

  F. App’x 263, 266 (4th Cir. 2019) (“As part of their agreement to arbitrate, parties may consent to

  arbitrate the “gateway” issue of arbitrability[.]”); Gibbs v. Sequoia Capital Operations, LLC, 966

  F.3d 286, 291 (4th Cir. 2020).

         Here, the Loan Agreement clearly and unambiguously indicates that the parties intended

  that the gateway issues would be decided by an arbitrator, not a court. See Kozen Decl., Exh. A.

  The Loan Agreement states that any “dispute” between the parties that is not resolved by the

  informal dispute resolution procedure described therein is subject to the Arbitration Provision.

  Under the Arbitration Provision, “dispute” is “given the broadest possible meaning” and includes

  “all claims, disputes, or controversies arising from or relating directly or indirectly to this Dispute

  Resolution Procedure and Arbitration Provision . . . , the validity and scope of this Provision and any

  claim or attempt to set aside this Provision.” Id. (emphasis added). That language expresses a “clear

  and unmistakable” intent to arbitrate the question of arbitrability. Courts in this circuit routinely

  find that identical or near-identical language offers an unambiguous intent to send the question of

  arbitrability to the arbitrator. See e.g., Novic, 757 F. App’x at 266-67 (citing cases). This Court

  should do the same.

             3.          The delegation clause and Arbitration Provision do not prospectively
                         waive Maville’s rights.

         As set forth in the Tribal Defendants’ Motion to Compel Arbitration, Maville will likely

  argue that the entire Arbitration Provision—including the delegation clause—is unenforceable

  because it contains a “prospective waiver” of Maville’s claims. This argument fails. Maville’s

  loan agreement is governed by the “laws of the Tribe and applicable federal law, without regard

  to the laws of any state or other jurisdiction . . . .” Kozen Decl., Exh. A. The Arbitration Provision




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  also permits Maville to bring common law claims as well as claims under state and federal law.

  See Kozen Decl., Exh. A. The Arbitration Provision does not waive any substantive claims.

         “The Supreme Court has recognized that arbitration agreements that operate ‘as a

  prospective waiver of a party’s right to pursue statutory remedies’ are not enforceable because

  they are in violation of public policy.” Gibbs v. Haynes Invs., LLC, 967 F.3d 332, 340 (4th Cir.

  2020) (quoting Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 637 n.19

  (1985)). Courts will therefore not enforce an arbitration agreement if the agreement “prevents a

  litigant from vindicating federal substantive statutory rights.” Id. (quoting Mitsubishi, 473 U.S.

  at 637). But that doctrine is inapplicable when a litigant is able to pursue their federal statutory

  rights in arbitration. Id. (citing Mitsubishi, 473 U.S. at 637).

         Here, the Loan Agreement explicitly allows Maville to do so. It expressly provides that

  the laws of the Tribe and applicable federal law govern the agreement. Furthermore, as set forth

  above, Maville’s Loan Agreement does not waive state law substantive rights. In fact, it expressly

  allows Maville to bring “all state law claims” and “all claims based upon a violation of any state

  statute.” See Kozen Decl., Exh. A. While Maville’s Loan Agreement is governed by Tribal and

  federal law, it allows application of all applicable substantive law consistent with governing Tribal

  and federal law. This language does not prevent the arbitrator from considering Maville’s state law

  claim for unjust enrichment. Instead, it simply directs the arbitrator to look to Tribal and federal

  case law when analyzing that claim.1 Nothing in the Loan Agreement therefore prevents Maville



  1
    This is not a new or extreme concept. In fact, the majority of federal tribal lending cases also
  look to and apply applicable state law. See, e.g., MacDonald v. CashCall, Inc, 2017 WL 1536427
  at *8 (looking to and applying New Jersey state law); Gibbs v. Stinson, 421 F. Supp. 3d at 308
  (looking to and applying Virginia state law); Dunn v. Glob. Tr. Mgmt., LLC, 506 F.Supp.3d at 1237
  (looking to and applying Florida law); Hengle v. Treppa, 19 F.4th at 351 (looking to and applying
  Virginia law). Arbitration would be no different.


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  from vindicating her federal statutory rights in arbitration, or indeed any other rights, and the

  Arbitration Provision therefore falls outside the prohibition outlined in Gibbs v. Haynes Invs.,

  LLC.

         And while Skytrail Servicing recognizes that certain other courts have held that other

  tribal lending agreements run afoul of the prospective waiver requirement, the agreements in

  those cases were materially different than the Arbitration Provision here. In those cases, the loan

  agreements required the exclusive application of tribal law, foreclosing any statutory claims.

  See, e.g., Haynes Invs., 967 F.3d at 341 (discussing cases exclusively applying tribal law and

  waiving federal statutory claims). In contrast, the Arbitration Provision here details which claims

  a consumer may bring in arbitration and how the Arbitrator will consider these claims. This

  includes, in relevant part:

         (a) all claims, disputes or controversies arising from or relating directly or
         indirectly to this Dispute Resolution Procedure and Arbitration Provision ("this
         Provision"), the validity and scope of this Provision and any claim or attempt to
         set aside this Provision (b) all U.S. federal or state law claims, disputes or
         controversies, arising from or relating directly or indirectly to this Agreement . .
         . (d) all common law claims, based upon contract, tort, fraud, or other intentional
         torts (e) all claims based upon a violation of any state or federal constitution,
         statute or regulation . . . .

         The Arbitrator shall apply applicable substantive law consistent with the Governing
         Law set forth above, and the Federal Arbitration Act, 9 U.S.0 §§ 1-16 (“FAA”) and
         applicable statutes of limitation, and shall honor claims of privilege recognized at
         law.

  See Kozen Decl., Exh. A. Further, as mentioned above, the Governing Law in the Loan

  Agreement is the “laws of the Tribe and applicable federal law.” Id. Therefore, Maville may

  bring all claims related to the loan at issue in arbitration. No claim under federal law is

  precluded by the Loan Agreement, and Maville is able to vindicate any federal statutory

  remedy of her choosing. Maville’s argument that the Loan Agreement contains a prospective

  waiver therefore fails.


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         Sky Trail Servicing further incorporates the Tribal Defendants’ analysis of the Fourth

  Circuit’s decision in Hengle v. Treppa, 19 F.4th 324 (4th Cir. 2021). In their brief, the Tribal

  Defendants raise the following arguments, which equally apply to Skytrail Servicing:

                   The loan agreements in Hengle contained the following governing law:
                    Dispute[s] will be governed by the laws of the [Tribe] and such rules and
                    procedures used by the applicable arbitration organization applicable to
                    consumer disputes, to the extent those rules and procedures do not contradict
                    the express terms of this Arbitration Provision or the law of the [Tribe],
                    including the limitations on the arbitrator below. Id. at 332.

                   The Fourth Circuit’s analysis focused on its prior decisions related to
                    prospective waiver language in tribal lending agreements, and each required
                    “application of tribal law to the practical exclusion of other law.” Id.2; Relying
                    on the above federal precedent that found arbitration agreements requiring
                    exclusive application of Tribal law unenforceable, the Hengle Court concluded
                    that the arbitration agreement before it contained a prospective waiver.
  Docket 111 at 18-20. But, once again, the Loan Agreement here plainly does not make tribal

  law the exclusive governing law. It explicitly includes the application of federal law, state

  law, and common law. It is different in kind. To the extent Maville would argue that her Loan

  Agreement waives all procedural and substantive rights, including federal rights, that

  argument fails.




  2
    See also Hayes, 811 F.3d at 675 (finding prospective waiver in loan agreement that required
  the arbitrator to apply “the laws of the [tribe]” but not “any law other than the law of the [tribe]”
  no matter where the arbitration occurred); Dillon, 856 F.3d at 332 (finding prospective waiver
  in loan agreement that required “any dispute . . . be resolved by arbitration in accordance with
  the law of the [tribe].”); Haynes Investments, LLC, 967 F.3d at 340 (4th Cir. 2020) (finding
  prospective waiver in loan agreement that “shall be governed by tribal law,” required the
  arbitrator to “apply Tribal law and the terms of this Agreement.”); Gibbs v. Sequoia Capital
  Operations, LLC, 966 F.3d 286 (4th Cir. 2020) (same).


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                  4.        The claims against Skytrail Servicing should be stayed pending
                            arbitration.
          Finally, as discussed above, the Arbitration Provision is to be interpreted according to the

   FAA, which reflects a liberal federal policy favoring arbitration. To that end, Section 3 of the

   FAA provides:

              If any suit or proceeding be brought in any of the courts of the United States
              upon any issue referable to arbitration under an agreement in writing for
              such arbitration, the court in which such suit is pending, upon being satisfied
              that the issue involved in such suit or proceeding is referable to arbitration
              under such an agreement, shall on application of one of the parties stay the
              trial of the action until such arbitration has been had in accordance with the
              terms of the agreement, providing the applicant for the stay is not in default
              in proceeding with such arbitration.

   9 U.S.C. § 3. The Supreme Court has explained that this requires “stays of proceedings in federal

   district courts when an issue in the proceeding is referable to arbitration, and for orders compelling

   arbitration when one party has failed or refused to comply with an arbitration agreement.” EEOC

   v. Waffle House, Inc., 534 U.S. 279, 289 (2002).

          This Court has previously recognized that a stay is appropriate in light of the uncertainty

   in the Fourth Circuit as to whether a district court has discretion to dismiss rather than stay an

   action subject to arbitration. Green v. Zachry Industrial, Inc., 36 F.3d 669, 678-79 (W.D. Va.

   2014). Accordingly, Skytrail Servicing requests that an order be entered, pursuant to Section 3 of

   the FAA, staying all proceedings until arbitration has been ordered as provided for in the

   Arbitration Provision.

   IV.    CONCLUSION
          Skytrail Servicing asks that the Court compel arbitration of Maville’s claims against

   Skytrail Servicing and stay these proceedings as to Skytrail Servicing pending that arbitration.




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                                WILLIAM CHENEY PRUETT and
                                SKY TRAIL SERVICING GROUP, LLC


                                By: /s/David N. Anthony
                                   David N. Anthony
                                   Virginia State Bar No. 31696
                                   Counsel for William Cheney Pruett and Sky Trail
                                   Servicing Group, LLC
                                   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                   1001 Haxall Point
                                   Richmond, VA 23219
                                   Telephone: (804) 697-5410
                                   Facsimile: (804) 698-5118
                                   Email: david.anthony@troutman.com




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                                      CERTIFICATE OF SERVICE

           I hereby certify that on this 19th day of December 2022, I caused the foregoing document

   to be filed with the Clerk of Court using the CM/ECF system, which will send notice of electronic

   filing to all counsel of record.



                                            /s/ David N. Anthony
                                            David N. Anthony
                                            Virginia State Bar No. 31696
                                            Counsel for William Cheney Pruett and Sky Trail
                                            Servicing Group, LLC
                                            TROUTMAN PEPPER HAMILTON SANDERS LLP
                                            1001 Haxall Point
                                            Richmond, VA 23219
                                            Telephone: (804) 697-5410
                                            Facsimile: (804) 698-5118
                                            Email: david.anthony@troutman.com



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